 

 

CASE DESCRIPTION - SUPERIOR COUl{.l

 

Check the box that best describes the case. Mark gg_§ box only. For district court cases, use form Cl'\/-lZ§D.

 

SUPERIOR C()URT MATTERS

 

CIVIL - SUI>ERIOR COURT

CONTRACT - Conz‘raczf cases involving real property

Should be reported under the real property category

§ D@br Conecrion <CISDEB)

[:] Claim Against Seller of Goods/Services
(CISCLAIM) '

§ Empl@ym@m Dispure (CISEMP>

[:] Other Contract (CISOCT)

TORT
E Intentional Tort (e.g., assault, battery,
Vandalism) (CISIT)
§ Sland@r/Libel/Defmation (CISSLD)
§ Pr@ducr Liabiliry (CISPL)
{:] Wrongful Death (CISPID)
Automobile Negligence:
§ Personal mjury Only (CISPIA)
[:] Property Damage Only (CISPDA)
§ 30th (CISIDA)
Other Negligence:
P@rs@nal lnjury Only (CISP):O)
g Property Damage Gnly (CISPDO)
§ Borh (CISIDO)

 

MALPRACTICE

§ L@galMalpracric@ (CISLMP)
E Medical Malpractice (CISMMP)
g Other Malpractice (CISOMP)

REAL PROPERTY

[:] Foreclosure (CISFOR)

§ Cond@mnarion (CISCNDM)

E Real Property Action (CISREM)

OTHER ClvlL

{:] Arbitration Proceeding (CISAP)

m Confession Of Judgment (CISCCONF)

m Declaratory Judgment/lnjunc. Relief (CISH\U)

[: OSC Request - Admin Agency (CIOSC)

E Civil Bench Wanant Request - Admin Agency
(CIBW)

m Writ OfHabeas Corpus (CIWHC)

[:] Election Contest or Recount Appeal (CISELE)

f:] Other Civil Complaint (CISOCD. Describe:

 

 

 

FORCIBLE ENTRY AND DETAINER - SUPERIOR COURT
§ Evicri@n _ F.E.D. (CISFED)

FOREIGN JUDGMENT - SUPERIOR COURT
[:] Registration of Foreign Judgment (CISFOI)

POST-CONVICTION RELIEF TO SUPERIOR COURT
g Post-Conviction Relief (CISPCR)

DOMES'I`IC RELA'I`IONS

DIVORCE WITHOUT CHILDREN
§ Div@rce Wirh@ur Chndren (CISDIV)
DIVORCE OR CUSTODY WITH CHILDREN

[:] Petition for Custody (CISCUS)
§ Div_orce Wirh Children (CISDVC)

LEGAL SEPARATION

§ Legal Separarion Wi:h Children (CICLS)
§ L@gal Separation Wirh@ur Children (CISLS)

DOMESTIC RELATIONS OTHER

[:] Ex Pal“te Application for OSC for Failure to
Comply With Admin Order for Genetic 'l`esting
(CIOSCP)

[:l Action to Modify or Enforce Administrative Child
Suppor”t Order (CIPCS)

[: Petition for Grder ret PFD or Native Dividend
(C]PND)

§ Estabhshmem OfPar@mity (CISPAT) '

§ Disestablismem OfParemiry (CIDPAT)

1:] Foreign Custody Order (Registration, Modification
or Enforcement) (DR483)

[:] Foreign Support Order (Registration, Modification
cr Enforcement) (CIUIFSA) `

[:] Registration of Foreigm Domestic Relations Order
(Not Support or Custody) (CIDRFI) '

[:] Petition for Annulment (CLANNUL)

E Petition for Visitation (CIVIS)

 

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Page 1 0f2

 

 

 

 

 

